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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                           CASE NO.: 14-21385-CIV-LENARD/GOODMAN

   WREAL, LLC, a Florida Limited Liability
   Company,

          Plaintiff,
   v.

   AMAZON.COM, INC., a Delaware
   Corporation,

         Defendant.
   ___________________________________/

         PLAINTIFF WREAL’S RESPONSE TO DEFENDANT AMAZON’S
   STATEMENT OF UNDISPUTED FACTS AND STATEMENT OF FACTS IN DISPUTE

          Pursuant to Federal Rule of Civil Procedure 56 and Local Rule 56.1, Plaintiff Wreal

   (“Wreal”) submits its Response to Defendant Amazon’s (“Amazon”) Statement of Undisputed

   Facts in opposition to Amazon’s Motion for Summary Judgment. Wreal further submits additional

   facts that it contends are material.

   1.     Disputed. Wreal offers more than merely pay-per-view content. It also offers subscription

   based-services. Marfoe Decl. Ex. 1 (Franco Nov. 6, 2015 Decl. ¶ 4.)

   2.     Undisputed.

   3.     Disputed. While a customer must sign up for an account on Wreal’s fyretv.com website,

   they can then purchase content at any time in the future through other devices where FyreTV is

   available, including Roku and Apple TV. Marfoe Decl. Ex. 1 (Franco Nov. 6, 2015 Decl. ¶ 30.)

   4.     Undisputed.

   5.     Undisputed.

   6.     Undisputed.

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   7.      Disputed. Wreal’s set-top box is marketed and sold under the name FyreTV, though Wreal

   occasionally refers to its set-top box as either the “FyreBoXXX” or the “FyreTV Box.” Marfoe

   Decl. Ex. 2 at 62:1 to 63:13. Further, the packaging and user guide that accompanies the FyreTV

   set-top-box refers to it as a “FyreTV set-top box.” Id. at 55:6-15.

   8.      Disputed as to the name of the device. It is sold under the name FyreTV.

   9.      Undisputed, though Wreal was working with Amazon in 2011 to sell the FyreTV box on

   Amazon’s website. Marfoe Decl. Comp. Ex. 3 (Fan Jin 30(b)(6) Dep. Exs. 3, 4, 5, 6, 9). Amazon

   suddenly pulled the plug on this arrangement just before it launched its Kindle Fire. Id.

   10.     Disputed. Wreal never stopped selling its FyreTV set top box. Although it stopped selling

   it to new customers for a period of time to channel them to use the new FyreTV video streaming

   platforms, it always made its FyreTV set top box available to current customers. Marfoe Decl. Ex.

   30 (Plaza Dep. at 41:21-42:15). It only briefly stopped selling its set top box to anyone for a period

   of about three weeks in 2014 due to battery leaks. After fixing the battery leak problem, Wreal re-

   started selling its boxes to all customers. Marfoe Decl. Ex. 2 (Tr. 57:2 to 58:4; 124:11-15; 167:19

   to 170:3). In addition, Wreal never stopped streaming video to its proprietary FyreTV set top box.

   Id. at (Tr. 57:16-9).

   11.     Disputed. Wreal’s products and platforms include the FyreTV website, the FyreTV set-top

   box, and several FyreTV applications developed for use on Roku, Google TV, Android and iOS.

   Marfoe Decl. Ex. 2 (Tr. 56:12-19); Marfoe Decl. Ex. 4 Sept. 22, 2014 Franco Decl. ¶ 9.

   12.     Disputed. Wreal targets people between the age of 20 and 50 with disposable income that

   are interested in purchasing pornography. Marfoe Decl. Ex. 31 (Franco 30(b)(6) Dep. at 58:3-21).

   13.     Disputed. Wreal and Netflix are both streaming services, even though they are not direct

   competitors. Marfoe Decl. Ex. 2 at 120:10-17.



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   14.    Disputed. Wreal’s advertising efforts are in constant flux, and has advertised through

   multiple mediums at different points in time, including television, radio, print, social media, search

   engines, and trade shows. Marfoe Decl. Ex. 4 (Sept. 22 Franco Decl.) ¶¶ 15-20. Wreal has always

   been dependent on “word-of-mouth” advertising. Id. ¶ 20. Wreal currently advertises on social

   media and through newsletters. Marfoe Decl. Ex. 1 (Nov. 6 Franco Decl.) ¶ 9.

   15.    Disputed. Wreal currently advertises on social media and through newsletters. Marfoe

   Decl. Ex. 1 (Nov. 6 Franco Decl.) ¶ 9.

   16.    Undisputed. Like many new companies, Wreal has not yet turned a profit.

   17.    Undisputed.

   18.    Disputed. As consumers come to associate the FyreTV name with Amazon, Wreal is losing

   control of its brand. Marfoe Decl. Ex. 2 (Tr. 92:4-18). Wreal faces losing its brand name, which

   will result in the destruction of years of hard work and capital that Wreal put into building up its

   brand name and reputation. Marfoe Decl. Ex. 4 (Sept. 22 Franco Decl.) ¶ 37. In addition, Wreal

   has seen a decline in customer usage and profits. Marfoe Decl. Ex. 1 (Nov. 6, 2015 Franco Decl.)

   ¶ 7. That is in part because Wreal’s advertising budget is much lower than Amazon’s, and this has

   impacted Wreal’s decision to spend money on advertising. Id.

   19.    Disputed.




   20.    Disputed.




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   21.    Disputed to the extent that Amazon used “Fire” as a brand, rather than “Kindle Fire.”

   22.    Undisputed.

   23.    Disputed to the extent that Amazon used “Fire” as a brand, rather than “Kindle Fire.”

   24.    Disputed. Amazon does not consistently use its housemark when advertising its products.

   Marfoe Decl. Ex. 6.

   25.    Undisputed.

   26.    Undisputed.

   27.    Undisputed.

   28.    Undisputed.

   29.    Undisputed.

   30.    Disputed. Amazon markets its device to those that stream pornography.




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   31.       Disputed.




   32.       Disputed.



   33.       Disputed.




   34.       Disputed. Amazon’s landing page, which often includes Fire TV advertisements, is

   customized to display items related to those that a customer recently viewed, even if those items

   are pornographic. Marfoe Decl. Ex. 15.

   35.       Undisputed.

   36.       Inadmissible as hearsay with respect to what was said at any focus groups.

   37.       Undisputed, though Amazon also advertises through search engine results. Marfoe Decl.

   Ex. 16.



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   38.    Partially disputed.




   39.    Disputed. While the parties currently use different fonts and graphics to depict the marks

   visually, both marks share the same meaning and connotation in that they both combine a variant

   of the arbitrary word “Fire” with the descriptive “TV.” ECF No. 126 at 7. In addition, they both

   use the same word with a slightly different spelling and use colors associated with fire – red for

   Wreal, orange for Amazon, though Amazon occasionally uses red as well. Id. And “fireTV” is

   clearly one word in the image Amazon used.

   40.    Disputed. Customers of FyreTV have asked Wreal about accessing FyreTV through

   Amazon, as noted by Amazon.

   41.    Undisputed.

   42.    Undisputed.

   43.    Undisputed.

   44.    Disputed. Amazon admitted that it was




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   45.    Disputed. Dr. Linda Williams testified that hard-core pornography is not a distinct genre

   because “softcore” pornography and/or erotica is closely related to “hardcore” pornography, as

   both generally serve the same purpose, such as erotic stimulation. Marfoe Decl. Ex. 18 (Williams

   Dep. 8: 22-25 to 9:1-3; 27: 8-15). In fact, the definitions of hardcore pornography “are hard fought

   and not always clear.” Id. at (74:23-25 to 75:1-2).

   46.    Disputed. Amazon’s landing page, which often includes Fire TV advertisements, is

   customized to display items related to those that a customer recently viewed, even if those items

   are pornographic. Marfoe Decl. Ex. 15.

   47.    Disputed. Dr. Maronick, Wreal’s survey expert, determined that Dr. Sarel’s survey cannot

   be used to reliably determine whether there is a likelihood of confusion in this case. Marfoe Decl.

   Ex. 19 (Maronick Expert Report at 3-4).

   48.    Disputed and inadmissible. See Marfoe Decl. Ex. 20, LG Electronics, USA, Inc. v.

   Whirlpool Corp., No. 1:08-cv-00242 (Sept. 13, 2010). Disputed because the studies were pilot

   studies designed to test formatting and screening, not designed to reliably determine whether there

   is a likelihood of confusion. Marfoe Decl. Ex. 21 (Maronick Dep. at 35:4-19).

   49.    Disputed. Dr. Maronick testified,



                                            Marfoe Decl. Ex. 21 (Maronick Dep. at 42:11-25).

   50.    Disputed. Dr. Maronick stated “




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                                                              Marfoe Decl. Ex. 19 (Maronick Expert

   Report ¶ 67) (emphasis added).

   51.      Disputed. “



                               Marfoe Decl. Ex. 22 (David Expert Report at 2).

   52.      Undisputed.

                 ADDITIONAL FACTS WHICH WREAL CONTENDS ARE MATERIAL

   53.      Individual tweets were directed to FyreTV asking, “Did you guys just merge with

   Amazon?” Marfoe Decl. Ex. 23.

   54.      Wreal never puts “Wreal” before FyreTV. Marfoe Decl. Ex. 1 (Franco Nov. 6 2015 Decl.

   ¶ 10).

   55.      Mainstream content providers, including Comcast, Time Warner, DirecTV, Dish Network,

   ATT & T and Verizon offer both mainstream content, and pornographic content. Marfoe Decl. Ex.

   2 (Tr. at 82:10-83:20); Marfoe Decl. Ex. 8 (Lindsay Dep. at 188:22-190:15); Marfoe Decl. Ex. 24

   (Williams Ex. Report ¶ 11) (“Mainstream content and hardcore pornography are complementary

   and often offered by the same companies.”).

   56.      Wreal’s FyreTV® offers pornographic content, both “hard core” and “soft core,” sex-

   related instructional videos, and stimulating reality-type content. Marfoe Decl. Ex. 1 (Franco Decl.

   ¶ 5).

   57.      Amazon deliberately used its housemark “Amazon” alongside “Fire TV” because




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   58.

                                            Marfoe Decl. Ex. 2 (Tr. 307:1-14).

   59.

                                      (Martinelli 30(b)(6) Dep. at 100:20-101:6).

   60.                                                                                         Marfoe

   Decl. Ex. 26 (Martinelli Dep. at 100:20-101:6).

   61.    Dr. Peter Lehman testified that

                                                         . Marfoe Decl. Ex. 12 (Lehman Dep. at 107:18-

   21)

   62.    FyreTV and FyreTV.com were registered with the United States Patent and Trademark

   Office on October 14, 2008, and Wreal has continuously used the marks in commerce since 2007.

   Marfoe Decl. Ex. 2 (Tr. 60:4 - 61:25).

   63.    The FyreTV and Amazon Fire TV marks in conjunction with Amazon’s Fire TV set-top-

   box and Wreal’s FyreTV set-top-box look similar. See Plaintiff’s Ex. 1 at Prelim Injunct. Hearing

   (FyreTV box); Def.’s Ex. Baicy 2 at Prelim. Injunction Hearing (Fire TV box).1 Amazon’s Fire

   TV set-top-box and Wreal’s FyreTV set-top-box are both black and devoid of any obvious

   markings. Id. Both connect to a consumer’s television and stream content over the internet through

   a consumer’s internet connection to a consumer’s television. Id.




   1
     Both were used as exhibits at the December 30, 2014 Preliminary Injunction hearing and are in
   the Court’s custody.
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   64.    At the time Dr. Sarel and Dr. Maronick conducted their surveys, Amazon’s Fire TV was

   new to the market                                   . Marfoe Decl. Ex. 27 (AMZN017404l-70);

   Marfoe Decl. Ex. 2 (Tr 238: 3-6).

                . Marfoe Decl. Ex. 15 (Maronick Decl. ¶ 21).

   65.    Dr. Maronick explained that “

                                                            Marfoe Decl. Ex. 17 (Maronick Decl. ¶

   12).

   66.    Dr. Sarel failed to consider internal data related to

                                                                                 . Marfoe Decl. Ex.

   28 (Sarel Dep. 198:24-199:2).

   67.    Ms. Baicy testified that

                                                                                            Marfoe

   Decl. Ex. 29 (Baicy Decl. ¶ 6).

   68.



                                                       Marfoe Decl. Ex. 22 (David Decl. ¶ 27, 30).

   69.                                                                                      Marfoe

   Decl. Ex. 22 (David Decl. ¶ 3, 29, 31)




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                                      Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I certify that on November 6, 2015, this document was served by the Court’s ECF filing
   system on all counsel of record on the Service List below.



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